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 4
     Attorney for Defendant
 5   BRYANT JACOBS
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 7
                                    UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,           )                 Case No. 2:05-cr-00125-MCE
11                                       )
           Plaintiff,                    )                 MOTION FOR CONTINUANCE
12                                       )                 OF ADMIT/DENY HEARING;
           vs.                           )                 STIPULATION AND
13                                       )                 ORDER
                                         )
14   BRYANT JACOBS, et al,               )
                                         )
15         Defendant.                    )
     ____________________________________)
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17
18            The United States, through its undersigned counsel, and the defendant, through his
19   undersigned counsel, hereby agree and stipulate that the admit/deny hearing currently scheduled for
20   August 9, 2007 at 9 a.m. should be vacated and continued to August 23, 2007 at 9:00 a.m. in the
21   courtroom of Judge Morrison C. England, Jr.
22            This continuance is necessary to permit further negotiations and preparation of a stipulated
23   disposition by the parties.
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 2          The Court is advised that the parties have conferred about this request, that they have agreed
 3   to the August 23, 2007 date, and that Ms. Skipper has authorized Ms. Radekin to sign this stipulation
 4   on her behalf.
 5
     Dated: August 8, 2007                                 McGREGOR W. SCOTT
 6                                                         United States Attorney
 7                                                   By:      /s/ CAMIL A. SKIPPER
                                                           CAMIL A. SKIPPER
 8                                                         Assistant U.S. Attorney
 9   Dated: August 8, 2007                                    /s/ ERIN J. RADEKIN
                                                           ERIN J. RADEKIN
10                                                         Attorney for Defendant
                                                           BRYANT JACOBS
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 1                                                ORDER
 2          IT IS HEREBY ORDERED that the admit/deny hearing currently scheduled for August 9,
 3   2007 at 9:00 a.m. is VACATED, and the matter continued until August 23, 2007 at 9:00 a.m. for
 4   admit/deny hearing.
 5          IT IS FURTHER ORDERED that inasmuch as there is no agreement on the issue of
 6   excludable time contained in the foregoing stipulation, time is NOT excluded to the date of the new
 7   status (admit or deny) hearing.
 8
      Dated: August 9, 2007
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                                                   ________________________________
10                                                 MORRISON C. ENGLAND, JR.
                                                   UNITED STATES DISTRICT JUDGE
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